                Case 3:94-cr-03012-LC-MD                        Document 778        Filed 04/30/08         Page 1 of 1
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the

                                            NORTHERN DISTRICT OF FLORIDA
                   United States of America                           )
                              v.                                      )
                       Kirkland Hollins                               ) Case No: 3:94cr3012-02/LAC
                                                                      ) USM N o: 03342-017
Date of Previous Jud gment:         12 July 1994                      )
(Use Date of Last Amended Judgment if Applicable)                     ) Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of : the defendant 9 the Director of the Bureau of Prisons 9 the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       : DENIED. 9 GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of            months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:        42         Amended Offense Level:                                                 40
Criminal History Category:    III         Criminal History Category:                                              III
Previous Guideline Range: 360     to Life Amended Guideline Range:                                             360 to Life
 II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 9 The reduced sentence is within the amended guideline range.
 9 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
 : Other (explain): Even with a two level reduction in his offense level, defendant’s guideline imprisonment range
remains at 360 months to life imprisonment. The present sentence is still at the low end of that range.

III. ADDITIONAL COMMENTS



Except as provided above, all provisions of the judgment dated                12 July 1994       shall remain in effect.
IT IS SO ORDERED.

Order Date:            30 April 2008                                                         s /L.A. Collier
                                                                                                Judge’s signature


Effective Date:                                                                Lacey A. Collier, Senior U.S. District Judge
                     (if different from order date)                                          Printed name and title
